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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF OHIO

  ----------------------------------------------------------   :
 Wendy Berry, Lorri Hulings, and Kathleen                      :
 Sammons, individually and as representatives of               :
 a class of similarly situated persons, and on                 :
 behalf of the FirstGroup America, Inc.                        :
 Retirement Savings Plan,                                      :
                                                               :
                  Plaintiffs,                                  :
                                                                    Case No. 1:18-cv-00326-MWM
                                                               :
         v.                                                    :
                                                                   ORAL ARGUMENT REQUESTED
                                                               :
 FirstGroup America, Inc., FirstGroup America,                 :
 Inc. Employee Benefits Committee, and Aon                     :
 Hewitt Investment Consulting, Inc.,                           :
                                                               :
                  Defendants.
                                                               :
                                                               :

              THE FGA DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

        Pursuant to Fed. R. Civ. P. 56, Defendants FirstGroup America, Inc. and the FirstGroup

America, Inc. Employee Benefits Committee (collectively, the “FGA Defendants”) hereby move

for summary judgment in their favor on all counts of the Plaintiffs’ Second Amended Complaint

(ECF No. 71) on the grounds that the material undisputed facts show that the FGA Defendants

are entitled to judgment thereon as a matter of law. The grounds for this Motion are set forth in

the forthcoming Memorandum in Support of this Motion. This Motion is also supported by: (i)

the FGA Defendants’ Statement of Proposed Undisputed Facts; and (ii) the supporting

declaration of David M. Rosenberg, filed herewith.

                                  REQUEST FOR ORAL ARGUMENT

        Pursuant to Local Rule 7.1(b)(2), the FGA Defendants request oral argument on this

Motion. The FGA Defendants respectfully submit that due to the complexity of both the factual




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and legal issues presented, a hearing will assist the Court in its consideration and resolution of

the issues presented herein.

Dated: October 14, 2022

                                                      By: /s/ James O. Fleckner
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                                                      FIRSTGROUP AMERICA, INC.
                                                      EMPLOYEE BENEFITS COMMITTEE




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                                 CERTIFICATE OF SERVICE

        I, James O. Fleckner, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on October
14, 2022.


                                                              /s/ James O. Fleckner




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